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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                           :   CRIMINAL NO. 21-CR-221 (CJN)
                                                    :
              v.                                    :
                                                    :
 MARK A. BLUE, and                                  :
 NICK A. SAVOY,                                     :
                                                    :
                                                    :
                          Defendants.               :


               NOTICE OF LETTER PROVIDED TO DEFENSE COUNSEL

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, hereby gives notice that the United States gave to counsel

of record in the above-captioned case via email on August 19, 2021, the discovery listed in the

attached letter on the dates set forth in the letter. The government requests that the attached

discovery letter, dated August 19, 2021, be made part of the record in this case.


                                                        Respectfully submitted,

                                                        CHANNING D. PHILLIPS
                                                        ACTING UNITED STATES ATTORNEY
                                                        D.C. Bar No. 415793

                                              By:       /s/ Emory V. Cole________
                                                        Emory V. Cole
                                                        PA Bar #49136
                                                        JASON FELDMAN
                                                        DC Bar #1023334
                                                        Assistant United States Attorneys
                                                        United States Attorney’s Office
                                                        555 Fourth Street, N.W.
                                                        Washington, DC 20530
                                                        Phone: (202) 252-7692
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                               CERTIFICATE OF SERVICE

       On August 19, 2021, a copy of the foregoing notice and attached discovery letter were

served on defendants’ counsel through the Court’s Electronic Filing System with the listed

attachments provided to counsel through the means described in the discovery letter.



                                            By:     /s/ Emory V. Cole________
                                                    Emory V. Cole
                                                    Jason Feldman
                                                    Assistant United States Attorneys
